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 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10   DOLORES ALDAZ,                           ) Case No.: CV-12-4210-GHK-OPx
11
                                              )
                  Plaintiff                   ) [Proposed] Order for Dismissal
12                                            )
13   v.                                       )
                                              )
14   NATIONAL ENTERPRISE                      )
15   SYSTEMS, INC.; et al,                    )
                                              )
16
                   Defendants                 )
17                                            )
18                                            )
                                              )
19                                            )
20
           GOOD CAUSE appearing thereof,
21
22
           IT IS HEREBY ORDERED that the above-captioned action is dismissed with

23   prejudice. Each party is to bear its own costs and attorney fees.
24
     IT IS SO ORDERED.
25
26
     DATED: ___1/30/2013_____               BY: _________________________________
27                                               HON. George King
28                                                    UNITED STATES DISTRICT COURT
                                                        1
                                          [Proposed] Order for Dismissal
